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 8                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
 9                     (THE HONORABLE JANIS L. SAMMARTINO)
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     UNITED STATES OF AMERCIA,                      )     Case No.: 19cr4705-JLS
13            Plaintiff,                            )
                                                    )     ORDER GRANTING JOINT
14         v.                                       )
                                                    )     MOTION TO WITHDRAW GUILTY
15                                                        PLEA
     URIEL AVITIA-CARAZCO,                          )
16            Defendant.                            )
                                                    )
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19         Upon the joint motion, the Court finds that there are “fair and just reason[s]” to allow

20   Defendant, Uriel Avitia-Carazco, to withdraw his guilty plea to the Information and plead

21   guilty again to Count 3 of the Information.

22         IS IT HEREBY ORDERED that Defendant, Uriel Avitia-Carazco is allowed to

23   withdraw his guilty plea to the Information.

24         IT IS SO ORDERED.
     Dated: October 6, 2021
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                                   ORDER GRANTING JOINT MOTION
                                     TO WITHDRAW GUILTY PLEA
